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lN THE UN|TED STATES DiSTR|CT COURT FOR
THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN D|V|S|ON

 

TR|-COUNTY CONVALESCENT
HOME, lNC., ATENNESSEE CORP.,
AND SH|LOH DRUG AND SPEC|AL|TY
STORE, lNC., A TENNESSEE CORP.,
AND HARRV L. PEELER, M.D., a
resident of McNairy County, TN,

PLA|NT|FFS,
No. 1-04-1137
v.

HPIPROPERT|ES, lNC., A

GEORGIA CORPORAT|ON,
HPIMANAGEMENT GROUP, lNC.,

A GEORGIA CORPORATION,
DOUGLAS K. MlTTLElDER, AND
HPITHREE R|VERS, lNC., A GEORG|A
CORPORATION,

VVVVVVVVVVVVVV~WVVVV

DEFENDANTS.

 

ORDER GRANT|NG PLAINTIFFS’ MOT|ON FOR LEAVE TO AMEND
F|RST AMENDED COMPLA|NT FOR DECLARATORY JUDGMENT AND
ANSWER TO COUNTERCLA|M OF DEFENDANTS AND COUNTER-PLA|NT|FFS

 

This matter came before the Court pursuant to Plaintiffs’ l\/|otion for Leave to Amend First
Amended Comp|aint for Dec|aratory Judgment and Answer to Counterc|aim of Defendants and
Counter-P|aintiffs.

|f appearing from the record, the P|aintiffs’ motion, the |V|ernorandum fiied in Support of the
motion, and the Certificate of Consuitation, that P|aintiffs’ motion is We|| taken and that no party has

objected the P|aintiffs’ motion,

Thls document entered on the docket sheet in compliance

with Flule 58 and,'or_79 (a) FRCP on ‘ 55 ~D

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|T |S, THEREFORE, ORDERED thatthe F’|aintiffs, Tri-County Conva|escent Home, |nc. and
Shiloh Drug and Specialty Store, lnc., shall be granted leave of this Court to file its Second
Amended Cornp|aint for Dec|aratory Judgment and its Amendment 1 to P|aintiffs’ and Counter-

Defendants’ Answer to Counterclaim of Defendants and Counter-P|aintiffs.

ENTEREDthisthe ZQ?'“_{dayof qug ,200_
MA.LW

U. S. District Judge

APPROVED FOR ENTRYC

RA|NEY, KIZER, REV|ERE & BELL, P.L.C.

BY; WAUQ
Wil|iam C. Be||,dr. (BPR #009349)
Attorneys for P|aintiffs
P. O. Box 1147 - 105 S. High|and Ave.
Jackson, TN 38302-1147
(731) 423-2414

AR|V|STRONG ALLEN, PLLC

BY: EObO/?L " qB£UW(A/¢/

Roberc Redding ,,/ `f,h'/»-»
Attorneys for Defendants

464 North Parkway, Suite A

Jackson, TN 38305

(731)660-2332

 

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Z|E|V|ER, STAVN|AN, WE|TZEL & SHOULDERS, LLP

BY DW{ l/ wm »//D¢M ,».»
David V. N|i||er
Attorneys for Defendants
20 N.W. First street /‘b rlab’~lc'~‘ 9 ]ZL¢BZ”L-

P.O. Box 916

Evansvi||e, |N 47706-0916
(812) 424-7575

 

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This notice confirms a copy of the document docketed as number 36 in
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ESSEE

 

William C. Bell

RAINEY KIZER BUTLER REVIERE & BELL

105 S. Highland Ave.
Jackson7 TN 38301--114

David V. Miller

LAW OFFICES OF DAV]D V. MILLER

20 NW First St., Ninth Floor
P.O. BOX 916
Evansville, IN 47706--091

Jonathan O. Steen

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jackson7 TN 38305

Kate Elizabeth Rhodes

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. BOX 1147

Jackson7 TN 38302--114

Robert Redding

ARMS TRONG ALLEN, PLLC
464 North Parkway

Ste. A

Jackson7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

